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                                              U.S. Department of Justice

                                                     United States Attorney
Ao sd                                                Southern District of New York

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                                                     March 7, 2022
BY ECF
Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, NY 10007

   Re:         United States v. Stuart Finkelstein, 21 Cr. 217 (PGG)

Dear Judge Gardephe:

       The Government respectfully writes to apprise the Court of recent developments regarding
Finkelstein’s violation of his bail condition to not “initiate new ADA actions (whether or not
counsel of record)” (the “ADA Condition”). (Dkt. 6, at 6). As explained in more detail below,
Finkelstein violated the ADA Condition by initiating a new ADA lawsuit on January 28, 2022;
however, on March 5, 2022, after the Government discussed the violation with defense counsel,
Finkelstein sought to address it by withdrawing the offending lawsuit. In light of the foregoing,
and to the extent that there was any ambiguity as to the scope of the ADA Condition, the
Government respectfully requests that the Court modify the ADA Condition to prohibit Finkelstein
from filing or initiating any ADA lawsuits or seeking to reopen any previously dismissed ADA
lawsuits.

         I.       Relevant Background

       On or about November 27, 2018, Finkelstein filed Antoloni v. Brue et al., 18 Civ. 11070
(GBD) (“Brue I”), alleging, inter alia, various violations of the ADA. Finkelstein dismissed that
lawsuit, before reaching a settlement with the defendants, on or about February 17, 2019.

         On or about November 25, 2019, Finkelstein was arrested on a complaint, charging him
with various offenses related to the Government’s allegations that he filed fraudulent lawsuits
under the ADA. After an initial presentment in the Southern District of Florida—Finkelstein’s
district of residence—Finkelstein was presented on the complaint in this District on December 3,
2019 before the Honorable Barbara Moses. The ADA Condition was set at that time and has not
been modified since then.

       On or about October 7, 2021, Finkelstein filed a letter in Brue I seeking to reopen that
lawsuit. Judge Daniels denied that request on November 16, 2021. Then, on or about January 28,
2022, Finkelstein initiated a new lawsuit, Antolini v. Brue et al., 22 Civ 730 (PAE-RWL) (“Brue
II”). That lawsuit alleged, among other things, that the defendants in that case had not made
accessibility remediations that they had previously promised to make, and that the plaintiff
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suffered injury under the ADA as recently as September 2021. Brue II also added two additional
defendants. To the Government’s knowledge, Finkelstein made no effort to confer with his pretrial
services officer regarding his efforts to reopen Brue I, or the initiation of Brue II.

        On February 1, 2022, Judge Lehrburger issued an order to show cause requiring Finkelstein
to explain why the initiation of Brue II did not violate his bail conditions. Finkelstein responded
to that order on February 4, 2022, arguing that, because the principle of claim preclusion and
related law would not bar Brue II, Brue II was not a “new action” and did not violate the ADA
Condition.1 Judge Lehrburger stayed Brue II and requested the Government’s position on these
matters.

        On or about March 5, 2022, after the Government had informed Finkelstein’s counsel of
its position that Brue II violated the ADA Condition, Finkelstein filed a notice to dismiss Brue II.

       II.      The Government’s Requested Bail Modification

        Finkelstein’s initiation of Brue II violated his bail condition to “not initiate new ADA
actions (whether or not counsel of record).” Brue II is new in several respects: it has a new judge,
caption, claims, and defendants. Because Finkelstein dismissed Brue II, however, the Government
(in consultation with pretrial services) submits that the Court’s response to the defendant’s
violation can be limited to modifying the ADA Condition. Specifically, the Government requests,
with no objection from defense counsel, that the ADA Condition be amended as follows:
“Defendant may not file or initiate any ADA lawsuits, or seek to reopen any previously-dismissed
ADA lawsuits, whether or not as counsel of record.”


                                              Respectfully submitted,

                                              DAMIAN WILLIAMS
                                              United States Attorney


                                          by: _____________________________
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cc:    David Bertan, Esq. (by ECF)
       Steven Boose, Pretrial Services Officer (by E-mail)

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  The plain terms of the ADA Condition, however, do not speak to whether the action is permitted
as a matter of civil law; instead, it makes clear that Finkelstein is not to initiate any new ADA
lawsuits. Indeed, that Finkelstein first sought to reopen Brue I by amending the original complaint
in that lawsuit suggests that Finkelstein understood the ADA Condition but sought to circumvent
it. If Finkelstein believed there was any ambiguity about the scope of the ADA Condition, he
should have sought clarification from his pretrial services officer, which he did not do.
